                     Case: 23-1652   Document: 18     Page: 1   Filed: 09/06/2023




                                            2023-1652

 UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

                                       J.D. IRVING, LTD.,
                                        Plaintiff-Appellant
                                                 v.
                       UNITED STATES, DEPARTMENT OF COMMERCE,
                                       Defendants-Appellees



                     Appeal from the United States Court of International Trade
                                   in Case No. 1:21-CV-00641
                                      Judge Timothy M. Reif


                         REPLY BRIEF OF PLAINTIFF-APPELLANT
                                 J.D. IRVING, LIMITED




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AMERICAS 124963226
               Case: 23-1652        Document: 18    Page: 2   Filed: 09/06/2023



FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2023-1652
   Short Case Caption J.D. Irving, Ltd. v. US
   Filing Party/Entity Appellant J.D. Irving, Limited



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               Case: 23-1652          Document: 18      Page: 3       Filed: 09/06/2023



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
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   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      " None/Not Applicable            " None/Not Applicable
J.D. Irving, Limited                  N/A                             J.K. Irving, Limited




                                  "      Additional pages attached
               Case: 23-1652      Document: 18   Page: 4   Filed: 09/06/2023



FORM 9. Certificate of Interest                                                Form 9 (p. 3)
                                                                                March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
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White & Case LLP

Cristina M. Cornejo




 5. Related Cases. Other than the originating case(s) for this case, are there
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 " Yes (file separate notice; see below) " No          " N/A (amicus/movant)
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 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 "        None/Not Applicable              "     Additional pages attached
                     Case: 23-1652            Document: 18              Page: 5        Filed: 09/06/2023




                                              TABLE OF CONTENTS

                                                                                                                           Page

INTRODUCTION .....................................................................................................1

ARGUMENT .............................................................................................................3

          BINATIONAL PANEL REVIEW OF THE AR2 FINAL RESULTS
          DOES NOT DIVEST THE CIT OF JURISDICTION TO HEAR J.D.
          IRVING’S APPEAL OF CASH DEPOSIT INSTRUCTIONS ......................3

          A.          J.D. Irving Has Appealed Agency Action That Is Not
                      Reviewable by a USMCA Panel ........................................................... 3

          B.          Even If the “True Nature” Test Were Relevant, J.D. Irving’s
                      Action Contests Cash Deposit Instructions, Not the AR2 Final
                      Results.................................................................................................... 5

                               The Government Disregards the Substance of J.D.
                               Irving’s Action Based on an Irrelevant Consideration ............... 6
                               The Government Fails To Support the Test Applied by
                               the Trade Court Below for Determining the True Nature
                               of J.D. Irving’s Action ................................................................ 8
                               a.        The Government misreads Am. Signature and
                                         Consol. Bearings, which support the conclusion
                                         that J.D. Irving’s action challenges cash deposit
                                         instructions ........................................................................ 9
                               b.        The Government misreads Wangxian Am. and
                                         Mittal Canada, neither of which undermines J.D.
                                         Irving’s challenge to cash deposit instructions............... 11
                               Even If the Trade Court’s “True Nature” Test Were
                               Valid, J.D. Irving’s Action Meets It ......................................... 13
          C.          Section 1581(i)(2)(B) Must Be Read in Accord with the Court’s
                      1581(i) Jurisprudence, Which Finds § 1581(i) Jurisdiction
                      When the Alternative Remedy Would Be Manifestly
                      Inadequate ........................................................................................... 14


                                                                  i

AMERICAS 124963226
                     Case: 23-1652          Document: 18             Page: 6         Filed: 09/06/2023




          THE CIT HAS JURISDICTION TO HEAR J.D. IRVING’S LEGAL
          CLAIM UNDER THE GENERAL § 1581(i) STANDARD ........................17

          A.          As Established, the “True Nature” of J.D. Irving’s Action
                      Contests Commerce’s Cash Deposit Instructions ............................... 17

          B.          Any Proceeding Outside the CIT Would Be Manifestly
                      Inadequate to Remedy J.D. Irving’s Claim ......................................... 18

                             A USMCA binational panel cannot provide adequate
                             relief .......................................................................................... 18
                             a.       USMCA panels lack the power to provide
                                      necessary retroactive relief ............................................. 19
                             b.       USMCA panels lack the power to provide
                                      necessary prospective relief ............................................ 23
                             Commerce administrative reviews cannot provide
                             adequate relief ........................................................................... 25
CONCLUSION AND STATEMENT OF RELIEF SOUGHT ...............................30




                                                             ii
AMERICAS 124963226
                     Case: 23-1652    Document: 18         Page: 7       Filed: 09/06/2023




                                     TABLE OF AUTHORITIES

                                                                                                   Page(s)
                                                 CASES

Am. Signature, Inc. v. United States,
  2007 U.S. App. LEXIS 27709 (Fed. Cir. 2007) ...................................7, 9, 10, 11

Bhullar v. United States,
  259 F. Supp. 2d 1332 (Ct. Int’l Trade 2003) ................................................15, 16

Bhullar v. United States,
  93 Fed. Appx. 218 (Fed. Cir. 2004) ..............................................................14, 15

Bldg. Sys. de Mexico v. United States,
   476 F. Supp. 3d 1401 (Ct. Int’l Trade 2020) ................................................20, 21

Canadian Lumber Trade Alliance v. United States,
  517 F.3d 1319(Fed. Cir. 2008) ........................................................................... 24

Consol. Bearings Co. v. United States,
  348 F.3d 997 (Fed. Cir. 2003) ........................................................................9, 10

Cooper Tire & Rubber Co. v. United States,
  217 F. Supp. 3d 1373 (Ct. Int’l Trade 2017) ...................................................... 22

Cooper Tire & Rubber Co. v. United States,
  No. 15-00251, 2017 Ct. Intl. Trade LEXIS 131 (Sept. 25, 2017) ...................... 22

Dofasco Inc. v. United States,
  326 F. Supp. 2d 1340 (Ct. Int’l Trade 2004),
  aff’d 390 F.3d 1370 (Fed. Cir. 2004) ............................................................16, 29

Hartford Fire Ins. Co. v. United States,
  544 F.3d 1289 (Fed. Cir. 2008) ................................................................4, 17, 18

Intercontinental Chems., LLC v. United States,
   483 F. Supp. 3d 1232 (Ct. Int’l Trade 2020) ...................................................... 16

Miller & Co. v. United States,
   824 F.2d 961 (Fed. Cir. 1987) ..................................................................5, 14, 17



                                                     iii

AMERICAS 124963226
                     Case: 23-1652        Document: 18            Page: 8        Filed: 09/06/2023




Mittal Canada Inc. v. United States,
   414 F. Supp. 2d 1347 (Ct. Int’l Trade 2006) ............................................9, 11, 12

Parkdale Int’l, Ltd. v. United States,
  491 F. Supp. 2d 1262 (Ct. Int’l Trade 2007) ........................................6, 7, 11, 29

Wangxian Am. Corp. v. United States,
  399 F. Supp. 3d 1323 (Ct. Int’l Trade 2019) .................................................. 9, 11

                                 STATUTES AND REGULATIONS

19 U.S.C. § 1516(a)(g)(5)(C) ................................................................................... 20

19 U.S.C. § 1516(a)(g)(6) ........................................................................................ 20

19 U.S.C. § 1516a(a)(1)(B)........................................................................................ 4

19 U.S.C. § 1516a(a)(2)(B)..............................................................................4, 5, 18

19 U.S.C. § 1516a(b)(3) ........................................................................................... 25

19 U.S.C. § 1516a(g)(1) ......................................................................................... 4, 5

19 U.S.C. § 1516a(g)(1) ............................................................................................. 4

19 U.S.C. § 1516a(g)(2) ...................................................................................3, 5, 14

19 U.S.C. § 1516a(g)(5)(C) ..................................................................................... 20

19 U.S.C. § 1516a(g)(7)(A) ..................................................................................... 19

19 U.S.C. § 1675 ........................................................................................................ 6

19 U.S.C. § 1675(a) .............................................................................................7, 23

19 U.S.C. § 1675(a)(2)(C) ....................................................................................... 13

28 U.S.C. § 1581 ...............................................................................................passim

28 U.S.C. § 1581(i) ...........................................................................................passim

28 U.S.C. § 1581(i)(1)(D) .......................................................................................... 1

28 U.S.C. § 1581(i)(2) ............................................................................................. 15



                                                          iv
AMERICAS 124963226
                     Case: 23-1652          Document: 18            Page: 9         Filed: 09/06/2023




28 U.S.C. § 1581(i)(2)(B) ................................................................................3, 5, 14

28 U.S.C. § 1581(c) ...................................................................................7, 9, 11, 16

28 U.S.C. § 1585 ...................................................................................................... 19

28 U.S.C. § 2643(c)(1) ............................................................................................. 19

28 U.S.C. § 2643(c)(5) .......................................................................................23, 24

19 C.F.R. § 351.212(c)(1) ....................................................................................9, 13

                            ADMINISTRATIVE DETERMINATIONS

Stainless Steel Sheet and Strip in Coils from Mexico,
   No. USA-MEX-2007-1904-1, 2011 FTAPD LEXIS 2 (Aug. 17,
   2011) ................................................................................................................... 21

                                      LEGISLATIVE MATERIALS

H.R. Rep. No. 96-1235 (1980) ................................................................................... 5

H. Rep. No. 103-361 (1st Sess. 1993) ..................................................................... 25

S. Rep. 100-519 (1988) ............................................................................................ 20

                                              MISCELLANEOUS

OXFORD ENGLISH DICTIONARY (2d ed. 1989) .......................................................... 18




                                                             v
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 10   Filed: 09/06/2023




                                        INTRODUCTION

          Plaintiff-Appellant J.D. Irving, Limited (“Appellant,” “J.D. Irving,” or

“JDI”) contests a general policy of the U.S. Department of Commerce

(“Commerce”) that unlawfully prioritizes outdated antidumping (“AD”) rates

calculated in completed administrative reviews over current AD rates determined

by operation of law, contrary to the statute and Congressional intent. Commerce

implements its illegal policy through the issuance of AD cash deposit instructions

to U.S. Customs and Border Protection (“CBP”). Here, JDI challenges the AD

cash deposit instructions issued to implement the final results of the AD

administrative review for the 2019 period in Softwood Lumber from Canada

(“Cash Deposit Instructions”).             Because JDI’s action concerns Commerce’s

“administration and enforcement” of the final results of the 2019 review (“AR2

Final Results”), the U.S. Court of International Trade (“CIT”) has jurisdiction to

hear the action under 28 U.S.C. § 1581(i)(1)(D).

          The Government counters that the CIT lacks § 1581(i) because the “true

nature” of JDI’s action is a challenge to the AR2 Final Results and other available

remedies would not be “manifestly inadequate,” but is wrong on both counts.

          In the Government’s view, the action concerns the AR2 Final Results merely

because JDI contested Commerce’s policy in a case brief submitted during the

2019 AD review (“AR2 Review”). The Government’s reliance on this fact ignores




AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 11   Filed: 09/06/2023




the true nature of JDI’s claim, which bears little relation to the AR2 Final Results

themselves – having nothing to do with the import entries covered by the AR2

Review, Commerce’s calculations of any dumping rates in that review, or virtually

the entire AR2 administrative record. Rather, Appellant’s action contests a general

Commerce policy that would not have affected JDI at all but for an event that

occurred outside the AR2 Review: the establishment of JDI’s more recent AD rate

for the 2020 review period (“AR3”) by operation of law. Because Commerce

applied its unlawful policy to JDI through the issuance of Cash Deposit

Instructions, the true nature of the action contests those instructions.

          Regarding adequacy of remedies, the Government misconstrues Congress’s

delegation of remand authority to USMCA binational panels as the grant of

injunctive power, and claims that JDI can obtain adequate relief by pursuing

refunds of AD cash deposits through participation in administrative reviews. Like

the CIT below, the Government fails to appreciate the nature of JDI’s legal claim.

This is not the typical case where a respondent seeks review of its entries because

the AD deposit rate applicable upon entry was higher its actual dumping rate

during the period of review.             Rather, Appellant’s claim is that Commerce’s

assignment of the AR2 cash deposit rate to JDI was unlawful in and of itself,

because JDI already had a cash deposit rate for a more recent period, AR3.

Participation in reviews does nothing to address Commerce’s unlawful policy,



                                               2
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 12   Filed: 09/06/2023




which – absent the injunctive and declaratory relief that JDI seeks – Commerce

would repeat on end, compelling JDI to participate in unnecessary administrative

reviews, contrary to the statute and Congressional intent.                Participation in

administrative reviews perpetuates – rather than remedies – the very legal issue for

which Appellant seeks relief.

                                          ARGUMENT

          BINATIONAL PANEL REVIEW OF THE AR2 FINAL RESULTS
          DOES NOT DIVEST THE CIT OF JURISDICTION TO HEAR J.D.
          IRVING’S APPEAL OF CASH DEPOSIT INSTRUCTIONS

          Attempting to bypass the court’s general standard for invoking § 1581(i)

jurisdiction, the Government asserts that, because the AR2 Final Results are before

a USMCA panel, the CIT lacks jurisdiction by virtue of 28 U.S.C. § 1581(i)(2)(B)

and 19 U.S.C. § 1516a(g)(2). The Government is wrong. Neither provision

deprives the CIT of § 1581(i) jurisdiction because JDI contests Commerce’s Cash

Deposit Instructions – not the AR2 Final Results. Moreover, the CIT would retain

jurisdiction under § 1581(i) to review the Cash Deposit Instructions under any

circumstances, because USMCA panel review would be “manifestly inadequate”

to remedy JDI’s legal claim.

          A.          J.D. Irving Has Appealed Agency Action That Is Not Reviewable
                      by a USMCA Panel

          As explained in JDI’s opening brief, neither 28 U.S.C. § 1581(i)(2)(B) nor

19 U.S.C. § 1516a(g)(2) deprives the CIT of jurisdiction to entertain JDI’s action


                                               3
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 13   Filed: 09/06/2023




under § 1581(i). See Appellant’s Br. at 45-46. Whereas these provisions bar the

trade court from exercising jurisdiction over an antidumping “determination” that

is reviewable by a USMCA panel, see id., JDI has not appealed any such

determination. Rather, JDI contests Commerce’s Cash Deposit Instructions, which

are not an agency determination reviewable by a USMCA panel. See 19 U.S.C. §

1516a(a)(2)(B) & 1516a(g)(1) (listing the agency determinations reviewable by a

binational panel without reference to cash deposit instructions). Consequently,

Sections 1581(i)(2)(B) and 1516a(g)(2) are not relevant to the Court’s analysis of

whether the trade court has jurisdiction under § 1581(i) to hear JDI’s challenge to

Cash Deposit Instructions.

          Notwithstanding, the Government wrongly contends that Sections

1581(i)(2)(B) and 1516a(g)(2) bar the CIT from exercising jurisdiction because the

“true nature” of JDI’s appeal is a challenge to the AR2 Final Results. See Gov. Br.

at 19-20. The “true nature” test, however, arises in the context of the court’s

analysis of whether jurisdiction “is or could have been available” under another

subsection of 28 U.S.C. § 1581. See, e.g., Hartford Fire Ins. Co. v. United States,

544 F.3d 1289, 1293 (Fed. Cir. 2008). The “true nature” test does not speak to the

agency determinations reviewable by USMCA panels that are clearly enumerated

under 19 U.S.C. § 1516a(a)(1)(B), (2)(B), and (g)(1).           Nor did the Government




                                               4
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 14   Filed: 09/06/2023




identify a single case in which a court relied on the “true nature” test in the context

of applying Section 1581(i)(2)(B) or 1516a(g)(2).

          In fact, in this case the trade court did not hold that it lacked jurisdiction of

JDI’s action based on Section 1581(i)(2)(B) or 1516a(g)(2).                See Appx9-16.

Instead, the court (wrongly) found that it lacked jurisdiction based on the general

test articulated by the court in Miller & Co. v. United States, 824 F.2d 961, 963

(Fed. Cir. 1987) (i.e., “Section 1581(i) jurisdiction may not be invoked when

jurisdiction under another subsection of § 1581 is or could have been available,

unless the remedy provided under that other subsection would be manifestly

inadequate.”). See id.

          For these reasons, Sections 1581(i)(2)(B) and 1516a(g)(2) do not apply, and

the Court’s consideration of these provisions should end here.

          B.          Even If the “True Nature” Test Were Relevant, J.D. Irving’s
                      Action Contests Cash Deposit Instructions, Not the AR2 Final
                      Results

          Even if the “true nature” test were applicable in the context of 28 U.S.C.

§ 1581(i)(2)(B) or 19 U.S.C. § 1516a(g)(2), the true nature of JDI’s action is a

challenge to Commerce’s Cash Deposit Instructions – not to a determination

reviewable by a USMCA panel under 19 U.S.C. § 1516a(a)(2)(B) and 1516a(g)(1).

See H.R. Rep. No. 96-1235, at 48 (1980) (“Subsection (i), and in particular

paragraph (4), makes it clear that the court is not prohibited from entertaining a



                                               5
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 15   Filed: 09/06/2023




civil action relating to an antidumping or countervailing duty proceeding so long as

the action does not involve a challenge to a determination specified in section

516A of the Tariff Act of 1930.”). In arguing otherwise, the Government glosses

over the nature of JDI’s legal claim and ignores or misconstrues pertinent case law.

                            The Government Disregards the Substance of J.D. Irving’s
                            Action Based on an Irrelevant Consideration

          The Government’s “true nature” argument boils down to a triviality. In the

Government’s view, the true nature of Appellant’s action concerns the AR2 Final

Results simply because JDI raised the cash deposit issue in a case brief submitted

in the AR2 Review. Merely briefing an issue, however, does not speak to the true

nature of the issue raised. The heart of JDI’s action is a challenge to an unlawful

policy that Commerce implements through the issuance of cash deposit

instructions, regardless of when or how the issue was raised.

          In Parkdale Int’l, the CIT found § 1581(i) jurisdiction because “{a}t the

heart of {that} case {was} a claim challenging a general administrative policy

setting general liquidation instructions, not a 19 U.S.C. § 1675 determination upon

review of entries.” Parkdale Int’l, Ltd. v. United States, 491 F. Supp. 2d 1262,

1269 (Ct. Int’l Trade 2007).1 Similarly here, JDI contests a general Commerce

policy pertaining to the assignment of AD cash deposit rates. Specifically, JDI

1
  Notably, the Government ignored Parkdale Int’l, even though J.D. Irving had
highlighted the case in its opening brief. See generally Gov. Br.; see also
Appellant’s Br. at 23, 29-30, 47.

                                               6
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 16   Filed: 09/06/2023




contests Commerce’s general (and unlawful) practice of prioritizing (1) an AD

cash deposit rate calculated in the most recently completed administrative review

(for 2019) over (2) an AD cash deposit rate established by operation of law for a

subsequent period of review (for 2020).              Because Commerce implements its

unlawful practice through the issuance of cash deposit instructions, the true nature

of JDI’s appeal is a challenge to such instructions.

          Furthermore, the true nature of JDI’s claim remains a challenge to Cash

Deposit Instructions even though JDI raised the issue in the AR2 Review. See Am.

Signature, Inc. v. United States, 2007 U.S. App. LEXIS 27709, *5-6 (Fed. Cir.

2007) (“The mere fact that Commerce addressed the implementation of

antidumping rates in its final determination does not make the implementation

itself a reviewable determination under § 1516a.”); see also Parkdale Int’l, 491 F.

Supp. 2d at 1266 (“{T}he court concludes that, even if plaintiffs had filed a case

brief contesting application of the Reseller Policy, Commerce’s determination

regarding the issue would not have constituted a 19 U.S.C. § 1675(a) determination

which qualifies for jurisdiction under 28 U.S.C. § 1581(c).”). JDI’s claim does not

concern imports covered by the AR2 Review; nor does JDI contest Commerce’s

calculation of either the assessment rate or the cash deposit rate determined for

non-selected companies in the AR2 Review (11.59%).                  Rather, JDI contests




                                               7
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 17   Filed: 09/06/2023




Commerce’s implementation of an unlawful practice through the issuance of cash

deposit instructions.

          Moreover, while the Government emphasizes that “the same administrative

record supports the AR 2 final results and the cash deposit instructions{,}” Gov.

Br. at 21, JDI’s legal claim requires little reference to the AR2 administrative

record. This is evident from JDI’s Complaint, to which the company attached all

administrative documents relevant to its appeal. See Appx33-177. Conspicuously

absent are any of the mandatory respondents’ questionnaire responses or any of

Commerce’s dumping rate calculations in the review. See id. Notably included

are documents outside the AR2 administrative record, such as Commerce’s notice

of initiation of the AR3 Review (covering import entries in 2020) and liquidation

instructions for JDI’s year-2020 entries. See Appx125-165. The administrative

record underlying JDI’s appeal further demonstrates that the true nature of the

action challenges cash deposit instructions – not the AR2 Final Results themselves.

                            The Government Fails To Support the Test Applied by the
                            Trade Court Below for Determining the True Nature of J.D.
                            Irving’s Action

          In arguing that the “true nature” of JDI’s action is a challenge to the AR2

Final Results, the Government reiterates the unsatisfactory test applied by the trade

court below: that the true nature of the appeal concerns Commerce’s instructions

to CBP only when those “‘instructions are inconsistent with or contain a legal



                                               8
AMERICAS 124963226
                     Case: 23-1652     Document: 18   Page: 18   Filed: 09/06/2023




error that is distinct from Commerce’s determination.’” Gov. Br. at 21 (quoting

Appx10). In attempting to defend the trade court’s test, however, the Government

misreads decisions of this court (Am. Signature and Consol. Bearings) and the CIT

(Wangxian Am. and Mittal Canada).

                            a.       The Government misreads Am. Signature and Consol.
                                     Bearings, which support the conclusion that J.D.
                                     Irving’s action challenges cash deposit instructions

            The Government claims that this court’s decisions in Am. Signature and

Consol. Bearings “support the rule articulated by the trial court.” Gov. Br. at 23.

The Government is mistaken. Rather, as previously explained, both cases support

JDI’s argument that the true nature of its legal claim contests the Cash Deposit

Instructions. See Appellant’s Br. at 25-28.

          In Am. Signature, Commerce’s liquidation instructions were not inconsistent

with its final determination. Rather, in the final determination Commerce had

rejected the very argument the plaintiff importer wished to raise on appeal – that

the AD cash deposits (and, hence, the automatic liquidations made in accordance

with 19 C.F.R. § 351.212(c)(1)) should reflect amended preliminary and final

rates. See Am. Signature, LEXIS 27709 at **2-4. Despite this, and although the

importer could have appealed Commerce’s final determination under 28 U.S.C.

§ 1581(c), the Am. Signature Court held that the true nature of the importer’s claim

challenged Commerce’s liquidation instructions, which the CIT had jurisdiction to



                                                  9
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 19   Filed: 09/06/2023




review under § 1581(i). See id. at **5-6. Similarly here, although the AR2 Final

Results address the legal argument JDI seeks to raise on appeal, the true nature of

JDI’s action remains a challenge to Cash Deposit Instructions.

          Likewise, in Consol. Bearings, Commerce’s liquidation instructions were

not inconsistent with its final results of review. Rather, because the importer had

not participated in the review, it was not subject to the final results of that review at

all. See Consol. Bearings Co. v. United States, 348 F.3d 997, 1001 (Fed. Cir.

2003).          Notwithstanding, the Consol. Bearings Court held that the plaintiff

importer’s action contested Commerce’s liquidation instructions – “a challenge to

the ‘administration and enforcement’ of th{e} final results,” as opposed to the final

results themselves – such that the CIT had jurisdiction under § 1581(i). Id. at

1002. Similarly, JDI challenges Cash Deposit Instructions, which pertain to the

“administration and enforcement” of the AR2 Final Results, not the final results

themselves.

          As recognized by the Government, the only difference between JDI’s case

and the jurisdictional issues presented in Am. Signature and Consol. Bearings is

that, unlike the plaintiffs in those cases, JDI raised its legal claim in the AR2

Review and Commerce responded in the final results. See Gov. Br. at 24-25. By

the Government’s logic, had JDI remained silent and not contested Commerce’s

unlawful practice during the AR2 Review, it could invoke the CIT’s § 1581(i)



                                               10
AMERICAS 124963226
                     Case: 23-1652     Document: 18   Page: 20   Filed: 09/06/2023




jurisdiction to challenge the Cash Deposit Instructions without issue. This court’s

§ 1581(i) jurisprudence, however, cannot possibly support that outcome.                     A

litigant, such as JDI, that did everything it could to exhaust administrative

remedies and be positioned to invoke the CIT’s jurisdiction under                    § 1581(c)

cannot be worse off than a litigant that declined to do so. Rather, the court looks to

the “true nature” of the action, regardless of whether the agency addressed the

legal issue raised during an administrative proceeding. See Am. Signature, LEXIS

27709 at *5-6; Parkdale Int’l, 491 F. Supp. 2d at 1266.

                            b.       The Government misreads Wangxian Am. and Mittal
                                     Canada, neither of which undermines J.D. Irving’s
                                     challenge to cash deposit instructions

          The Government also attempts to justify the trade court’s reliance on

Wangxian Am. and Mittal Canada, which JDI had distinguished. See Appellant’s

Br. at 30-31. According to the Government, the CIT’s decisions in those cases do

“not turn on” the factual distinctions identified by JDI. Gov. Br. at 22. To the

contrary, neither case supports the test relied upon by the trade court to dismiss

JDI’s appeal of the Cash Deposit Instructions – that those instructions must be

inconsistent with or contain a legal error that is distinct from Commerce’s final

determination.

          In Wangxian Am., the plaintiff challenged a Commerce memorandum

addressed to CBP that had zero effect on the parties’ legal rights. See Wangxian



                                                 11
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 21   Filed: 09/06/2023




Am. Corp. v. United States, 399 F. Supp. 3d 1323, 1329, 1331, 1334 (Ct. Int’l

Trade 2019). Consequently, the plaintiff had failed to challenge any action or

decision independent from Commerce’s final determination. In contrast, JDI has

contested Cash Deposit Instructions, the very action that unlawfully replaced JDI’s

AR3 AD deposit rate with an AR2 deposit rate, contrary to the statue and

Congressional intent.

          Meanwhile, in Mittal Canada, the CIT held that it had § 1581(i) jurisdiction

to entertain the plaintiff’s challenge to liquidation instructions even though those

instructions were consistent with Commerce’s final determination in a changed

circumstances review. See Mittal Canada Inc. v. United States, 414 F. Supp. 2d

1347, 1352-53 (Ct. Int’l Trade 2006). That is, Commerce’s automatic liquidation

instructions were consistent with its decision in the review that, for AD deposit

purposes, Mittal Canada, the plaintiff, was to be treated as the successor-in-interest

to Ispat Sidbec as of July 8, 2005 (not retroactively, the result plaintiff sought).

See id. at 1349-50. Nevertheless, the court found that jurisdiction was established

under § 1581(i) because the plaintiff’s claim – that Commerce’s liquidation

instructions were legally defective – concerned the “administration and

enforcement” of those final results. See id. at 1352-53. Mittal Canada supports

JDI’s invocation of § 1581(i) jurisdiction. Like the plaintiff in Mittal Canada, the

true nature of JDI’s claim is that Commerce’s instructions to CBP are legally



                                               12
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 22   Filed: 09/06/2023




defective, even though Commerce’s Cash Deposit Instructions are consistent with

its final determination in the AR2 Review.

                            Even If the Trade Court’s “True Nature” Test Were Valid,
                            J.D. Irving’s Action Meets It

          Even if the trade court’s test – that the true nature of an appeal concerns

Commerce’s instructions to CBP only when those “instructions are inconsistent

with or contain a legal error that is distinct from Commerce’s determination{,}”

Appx10 – were valid, JDI’s action surely meets it. In the AR2 Review, Commerce

assigned JDI the AD deposit rate determined in that review because JDI was

subject to the review.               JDI raises a legal claim that is broader than that

determination. JDI asserts that Commerce violated the statute and Congressional

intent when it instructed CBP to assign JDI the AR2 AD deposit rate, because JDI

already had an AD deposit rate established for the more recent AR3 period.

Appellant’s legal claim concerns the AR3 dumping rate Commerce had determined

for JDI by operation of law in accordance with 19 U.S.C. § 1675(a)(2)(C) and 19

C.F.R. § 351.212(c)(1) and, thus, looks beyond the AR2 Final Results.

Accordingly, JDI has raised a legal claim that is distinct from the AR2 Final

Results. The true nature of JDI’s legal claim is a challenge to Cash Deposit

Instructions, which implement the AR2 Final Results and violate the AR3 dumping

determination made for JDI by operation of law.




                                               13
AMERICAS 124963226
                     Case: 23-1652   Document: 18      Page: 23   Filed: 09/06/2023




          C.          Section 1581(i)(2)(B) Must Be Read in Accord with the Court’s
                      1581(i) Jurisprudence, Which Finds § 1581(i) Jurisdiction When
                      the Alternative Remedy Would Be Manifestly Inadequate

          The CIT retains § 1581(i) jurisdiction to entertain JDI’s appeal of Cash

Deposit Instructions even if the “true nature” of JDI’s appeal were deemed a

challenge to the AR2 Final Results. As argued in Appellant’s opening brief, 28

U.S.C. § 1581(i) and 19 U.S.C. § 1516a(g)(2) must be interpreted in accord with

this court’s § 1581(i) jurisprudence, which holds that “Section 1581(i) jurisdiction

may not be invoked when jurisdiction under another subsection of § 1581 is or

could have been available, unless the remedy provided under that other subsection

would be manifestly inadequate.” Appellant’s Br. at 46-47 (quoting Miller, 824

F.2d at 963) (emphasis added). Here, as demonstrated below in Section II.B,

USMCA panel review of the AR2 Final Results would fail to provide any

meaningful relief for JDI’s legal claim. In response, the Government continues to

overlook or misread relevant case law.

          The         Government     contends   that   the   “manifestly   inadequate”   rule

promulgated by the Miller Court does not apply to determinations reviewable by

USMCA panels, because neither 28 U.S.C. § 1581(i) nor 19 U.S.C. § 1516a(g)

provides for such exception to the general rule foreclosing CIT review of

determinations before USMCA panels. See Gov. Br. at 25-28. As support, the

Government cites Bhullar v. United States, 93 Fed. Appx. 218 (Fed. Cir. 2004),



                                                14
AMERICAS 124963226
                     Case: 23-1652   Document: 18        Page: 24   Filed: 09/06/2023




Gov. Br. at 27, but that case is inapposite. In Bhullar, the appellant sought CIT

review of the same agency final determinations for which NAFTA binational panel

review had been requested. See Bhullar, 93 Fed. Appx. at 219-20; Bhullar v.

United States, 259 F. Supp. 2d 1332, 1336 (Ct. Int’l Trade 2003) (identifying the

contested             final   antidumping   and        countervailing   duty   determinations).

Consequently, by the plain terms of Sections 1581(i) and 1516a(g)(2), the CIT

lacked jurisdiction to hear the action. Here, in contrast, JDI has appealed Cash

Deposit Instructions – not the AR2 Final Results pending review by the USMCA

binational panel. Accordingly, even if jurisdiction under subsection (c) of § 1581

were available to address JDI’s legal claim (but for USMCA panel review), the

CIT retains jurisdiction under § 1581(i) to entertain JDI’s challenge to the Cash

Deposit Instructions, because USMCA panel review would fail to provide an

adequate remedy (as discussed below in Section II.B).

          Moreover, the Government ignores pertinent case law. The full text of 28

U.S.C. § 1581(i)(2) states:

          This subsection shall not confer jurisdiction over an antidumping or
          countervailing duty determination which is reviewable by-

                (A) the Court of International Trade under section 516A(a) of the Tariff
                Act of 1930 (19 U.S.C. 1516a(a)); or

                (B) a binational panel under section 516A(g) of the Tariff Act of 1930
                (19 U.S.C. 1516a(g)).




                                                  15
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 25    Filed: 09/06/2023




Notwithstanding this provision, the courts still examine whether CIT review of an

antidumping or countervailing duty determination under 19 U.S.C. § 1516a(a) –

for which § 1581(c) jurisdiction is available – would be manifestly inadequate in

the context of addressing § 1581(i) jurisdiction. See, e.g., Dofasco Inc. v. United

States, 326 F. Supp. 2d 1340, 1346 (Ct. Int’l Trade 2004), aff’d 390 F.3d 1370

(Fed. Cir. 2004); Intercontinental Chems., LLC v. United States, 483 F. Supp. 3d

1232, 1240-41 (Ct. Int’l Trade 2020) (“If plaintiff could have invoked 28 U.S.C.

§ 1581(c) but the remedy under this provision would have been manifestly

inadequate, then jurisdiction under § 1581(i) would still be available.”).            By

extension, the CIT also has jurisdiction under § 1581(i) when review by a USMCA

panel under 19 U.S.C. § 1516a(g) would be manifestly inadequate.

          Even in Bhullar, the case cited by the Government, the CIT considered

whether any remedy available under another subsection of § 1581 would be

manifestly inadequate, but found this standard was unmet. See Bhullar, 259 F.

Supp. 2d at 1342, aff’d 93 Fed. Appx. at 220.                  The trade court below also

considered whether review of JDI’s legal claim by a USMCA panel would be

manifestly inadequate, see Appx11-16 – yet the Government did not express

disagreement with this aspect of the CIT’s analysis.

          Because USMCA panel review of JDI’s legal claim would be manifestly

inadequate to provide relief, the trade court retains § 1581(i) jurisdiction to



                                               16
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 26   Filed: 09/06/2023




entertain JDI’s appeal of Cash Deposit Instructions even if the “true nature” of

JDI’s appeal were deemed a challenge to the AR2 Final Results.

          THE CIT HAS JURISDICTION TO HEAR J.D. IRVING’S LEGAL
          CLAIM UNDER THE GENERAL § 1581(i) STANDARD

          “Section 1581(i) jurisdiction may not be invoked when jurisdiction under

another subsection of § 1581 is or could have been available, unless the remedy

provided under that subsection would be manifestly inadequate.” Miller, 824 F.2d

at 963. Here, § 1581(i) jurisdiction may be invoked because (1) the “true nature”

of JDI’s action is a challenge to cash deposit instructions (which do not constitute a

determination reviewable by a USMCA panel) and (2) neither USMCA panel

review nor administrative reviews would provide meaningful relief for JDI’s legal

claim.        In arguing that the CIT lacks § 1581(i) jurisdiction, the Government

misinterprets the statute, ignores or misreads relevant case law, and

mischaracterizes the trade court’s decision below.

          A.          As Established, the “True Nature” of J.D. Irving’s Action
                      Contests Commerce’s Cash Deposit Instructions

          In determining whether jurisdiction “is or could have been available” under

another subsection of 28 U.S.C. § 1581, the court “look{s} to the true nature of the

action . . . .” Hartford Fire, 544 F.3d at 1293. Here, as established above in

Section I.B, the true nature of JDI’s action is a challenge to Commerce’s Cash

Deposit Instructions. Because cash deposit instructions are not reviewable under



                                               17
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 27   Filed: 09/06/2023




19 U.S.C. § 1516a(a)(2)(B), jurisdiction under subsection 1581(c) is unavailable.

Consequently, the CIT can entertain JDI’s appeal of the Cash Deposit Instructions

under § 1581(i).

          B.          Any Proceeding Outside the CIT Would Be Manifestly
                      Inadequate to Remedy J.D. Irving’s Claim

          The Government wrongly asserts that “both the binational panel and the

administrative review process could provide, in substance, the same or similar

relief that JDI seeks in the Court of International Trade if it were to prevail.” Gov.

Br. 30.              To the contrary, neither USMCA panel review nor Commerce

administrative reviews would provide any relief at all for JDI’s legal claim, which

contests Commerce’s unlawful practice of prioritizing outdated AD rates

determined in administrative reviews over current AD rates determined by

operation of law. See Hartford Fire, 544 F.2d at 1294 (stating that a remedy is

manifestly inadequate if it would be “an exercise in futility, or ‘incapable of

producing any result; failing utterly of the desired end through intrinsic defect;

useless, ineffectual vain.’”) (quoting OXFORD ENGLISH DICTIONARY (2d ed. 1989)).

                            A USMCA binational panel cannot provide adequate relief

          Adequate relief for JDI’s legal claim would include (1) an injunctive order

directing Commerce to reinstate JDI’s lawful AD cash deposit rate retroactively

and (2) a binding order preventing Commerce from continuing to misinterpret the

statute in a manner that compels JDI to request AD administrative reviews that


                                               18
AMERICAS 124963226
                     Case: 23-1652     Document: 18   Page: 28   Filed: 09/06/2023




would otherwise be unnecessary. The CIT has the statutory authority to provide

such retroactive and prospective relief; USMCA panels do not. The Government

fails to show otherwise.

                            a.       USMCA panels lack the power to provide necessary
                                     retroactive relief

          In arguing that JDI “fails to substantiate” its contention that “binational

panels cannot order ‘retroactive’ reinstatement of a cash deposit rate and

refunds{,}” the Government ignores or misinterprets the statute, misreads case law,

and mischaracterizes the trade court’s decision below.

          Most conspicuously, the Government fails to acknowledge 28 U.S.C. § 1585

and 28 U.S.C. § 2643(c)(1), both of which JDI discussed in its opening brief. See

Appellant’s Br. at 33. Section 1585 grants the CIT “all the powers in law and

equity of . . . a district court of the United States{,}” while § 2643(c)(1) provides

that “the Court of International Trade may . . . order any . . . form of relief that is

appropriate in a civil action, including, but not limited to, declaratory judgments,

orders of remand, injunctions, and writs of mandamus and prohibition.”

(Emphasis added.)

          Ignoring these provisions, the Government cites only 19 U.S.C.

§ 1516a(g)(7)(A), see Gov. Br. at 30, but this provision merely grants USMCA

panels authority to issue remands – not injunctions.                       See 19 U.S.C.

§ 1516a(g)(7)(A) (Action upon remand) (“If a determination is referred to a


                                                 19
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 29   Filed: 09/06/2023




binational panel . . . under . . . article 10.12 of the USMCA and the panel . . .

makes a decision remanding the determination to the administering authority . . . ,

the administering authority . . . shall . . . take action not inconsistent with the

decision of the panel . . . .”) (emphasis added); see also S. Rep. 100-519 (1988), at

31 (“This provision mirrors the existing remand procedures of the CIT in

antidumping and countervailing duty cases . . . .”) (emphasis added).

          The Government also misconstrues JDI’s references to 19 U.S.C.

§ 1516(a)(g)(5)(C) and (g)(6).                According to the Government, neither

§ 1516a(g)(5)(C) nor § 1516a(g)(6) “constrains a panel’s authority to direct

Commerce to reinstate the 1.57% cash deposit rate as of the AR 2 final results, and

refund amounts paid above that rate.” Gov. Br. at 32. This misses the point.

Whereas § 1516a(c)(2) (cross-referenced by § 1516a(g)(6)) authorizes the CIT to

enjoin liquidation of entries covered by an agency determination, Congress did not

authorize USMCA panels to do the same. Rather, when USMCA panel review of

an agency determination is requested, Congress authorized Commerce – not the

USMCA panel – to suspend the covered entries. See 19 U.S.C. § 1516a(g)(5)(C).

Thus, § 1516a(c)(2), (g)(5)(C), and (g)(6) corroborate that Congress withheld

injunctive power from USMCA panels.

          The Government also misreads court and binational panel decisions. The

Government cites Bldg. Sys. de Mexico for the general proposition that “the



                                               20
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 30   Filed: 09/06/2023




binational panel process replaces the forum – not the remedies – available to the

parties.” Gov. Br. at 30-31 (quoting Bldg. Sys. de Mexico v. United States, 476 F.

Supp. 3d 1401, 1410 (Ct. Int’l Trade 2020)). But, as detailed above, Congress

delegated only remand authority to USMCA panels – not injunctive powers.

Nothing in Bldg. Sys. de Mexico indicates that USMCA panels have the authority

to provide injunctive relief.

          Next, citing a NAFTA panel decision, the Government claims that

“binational panels have considered allegations that Commerce imposed incorrect

cash deposit rates without questioning whether the panel would have the authority

to order Commerce to replace an existing cash deposit rate.” Gov. Br. at 31 (citing

Stainless Steel Sheet and Strip in Coils from Mexico, No. USA-MEX-2007-1904-1,

2011 FTAPD LEXIS 2 (Aug. 17, 2011) (“Stainless Steel from Mexico”)). To the

contrary, this NAFTA decision reinforces the conclusion that binational panels

lack the injunctive power to require Commerce to reinstate an AD deposit rate

retroactively. While the respondents in that case challenged the AD deposit rate

calculated in the 2004-2005 administrative review, the NAFTA panel agreed with

Commerce that the issue was moot because that cash deposit rate was no longer in

effect. See Stainless Steel from Mexico, 2011 FTAPD LEXIS at **47-48 & *50

(“Commerce’s determination that computing a new {cash deposit rate} is futile and

unnecessary because the amount of duties Customs is to collect at the border on



                                               21
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 31   Filed: 09/06/2023




ongoing entries was superseded by the results of a subsequent administrative

review . . . is reasonable.”) (emphasis added). The NAFTA panel did not even

consider, nor did any party argue, that the panel had the authority to issue an

injunction requiring Commerce to change the AD deposit rate retroactively.

          Lastly, in contending that the trade court “merely recognized” JDI’s

argument that “binational panels cannot order ‘retroactive’ reinstatement of a cash

deposit rate and refunds” but rejected the argument as unpersuasive, see Gov. Br.

at 34, the Government mischaracterizes the trade court’s decision below. The

court addressed JDI’s argument regarding retroactive relief in a section prefaced by

the subheading, “Plaintiff’s request to reinstate retroactively the cash deposit rate

of 1.57% and to refund excess cash deposits.” Appx12. In that section, the court

limited its discussion to an “alternative remedy” available to JDI through

participation in administrative reviews (and subsequent appeals of such reviews).

See Appx12-16. At no point in this discussion did the court suggest that USMCA

panels had the injunctive power to provide retroactive relief. See id.

          Absent the power to grant injunctive relief, USMCA panels cannot provide

the relief granted by the CIT in Cooper Tire – an injunction directing Commerce to

set aside an unlawful AD deposit rate and to reinstate the lawful AD deposit rate

retroactively. See Cooper Tire & Rubber Co. v. United States, 217 F. Supp. 3d

1373, 1377, 1384 (Ct. Int’l Trade 2017); Cooper Tire & Rubber Co. v. United



                                               22
AMERICAS 124963226
                     Case: 23-1652     Document: 18   Page: 32   Filed: 09/06/2023




States, No. 15-00251, 2017 Ct. Intl. Trade LEXIS 131, at *8-10 (Sept. 25, 2017).

The only adequate remedy for an unlawfully assigned AD deposit rate is a

retroactive reinstatement of the lawful deposit rate; otherwise, Commerce’s legal

error would escape judicial review without remedy.

                            b.       USMCA panels lack the power to provide necessary
                                     prospective relief

          JDI also seeks a binding order to prevent Commerce from repeating its

unlawful practice (violating 19 U.S.C. § 1675(a) and Congressional intent) going

forward. In arguing that USMCA panels can provide the necessary prospective

relief, the Government misinterprets the statute and reiterates the CIT’s faulty

logic.

          The Government contends that, because 28 U.S.C. § 2643(c)(5) bars the CIT

from providing declaratory relief, “J.D. Irving cannot show that binational panel

review is manifestly inadequate on this basis.” Gov. Br. at 34. Section 2643(c)(1)

states, “In any civil action involving an antidumping or countervailing duty

proceeding regarding a class or kind of merchandise of a free trade country . . . ,

the Court of International Trade may not order declaratory relief.” According to

the Government, this provision does not contain any exceptions that would permit

declaratory relief for JDI’s claim, see Gov. Br. at 33, but JDI does not argue for an

exception. Rather, because JDI seeks a declaratory judgment or binding ruling

barring Commerce from applying a general practice, § 2643(c)(5) – which pertains


                                                 23
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 33   Filed: 09/06/2023




to actions particular to antidumping or countervailing duty provisions involving

goods from Canada or Mexico – does not apply in the first instance.                 See

Appellant’s Br. at 44 n.5.

          Similarly, in Canadian Lumber Trade Alliance, this court affirmed the CIT’s

declaratory judgment that CBP must not apply the Byrd Amendment to goods from

Canada or Mexico subject to antidumping or countervailing duty orders, see 517

F.3d 1319, 1325 (Fed. Cir. 2008) – presumably because § 2643(c)(5) cannot apply

to an issue a NAFTA panel is unable to remedy. While the Government claims

that the court “determined that the plaintiffs’ claims for declaratory . . . relief were

moot{,}” Gov. Br. at 33, the Government is mistaken. To the contrary, the court

“affirm{ed} the declaratory judgment issued by the Court of International Trade,

because at least one Plaintiff-Appellee has standing to seek it, and because the

Court of International Trade properly interpreted the {Byrd Amendment} . . . to be

inapplicable to goods imported from Canada or Mexico.” Canadian Lumber, 517

F.3d at 1325; see also id. at 1344 (“We AFFIRM the Court of International Trade’s

declaratory judgment that, pursuant to Section 408 of the {NAFTA

Implementation Act}, the {Byrd Amendment} does not apply to antidumping and

countervailing duties assessed on imports of goods from Canada or Mexico . . . .”).

          Moreover, the Government fails to rebut JDI’s argument that USMCA

panels lack the ability to provide the necessary prospective relief, because panel



                                               24
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 34   Filed: 09/06/2023




decisions are binding only “with respect to the particular matter between the

Parties that is before the panel.” USMCA Ch. 10, Art. 10.12, ¶9; see also 19

U.S.C. § 1516a(b)(3); H. Rep. No. 103-361, at 83 (1st Sess. 1993). In response, the

Government simply reiterates the trade court’s logic – “because a panel decision

with respect to any legal issue lacks precedential effect, a panel decision as to any

legal issue before it would be manifestly inadequate{,}” Appx16 – without

addressing JDI’s explanation for why the court’s logic was flawed. See Gov. Br. at

34-35. Contrary to the trade court’s reasoning, a USMCA panel’s disposition of a

legal issue in favor of the complainant will provide adequate relief in virtually all

cases before it, because the plaintiff will obtain the relief it seeks: e.g., a negative

antidumping determination, a negative countervailing duty determination, a

negative injury determination, changes to the antidumping or countervailing duty

rates to be assessed on entries covered by the contested administrative review. In

stark contrast, a USMCA panel’s endorsement of JDI’s legal claim would fail to

provide any relief at all – retroactive or prospective.

                            Commerce administrative reviews cannot provide adequate
                            relief

          In arguing that participation in administrative reviews would provide

adequate relief, the Government merely asserts that “the traditional way to recoup

contested cash deposits is through administrative reviews for the periods in which

J.D. Irving paid the contested 11.59% cash deposit rate . . . .” Gov. Br. at 36. JDI,


                                               25
AMERICAS 124963226
                     Case: 23-1652    Document: 18      Page: 35    Filed: 09/06/2023




however,              challenges     Commerce’s      “traditional   way”    of   implementing

administrative reviews itself. Consequently, JDI’s participation in reviews would

not provide any relief for its legal claim at all.                  Moreover, in arguing that

compelling JDI to participate in unnecessary reviews would not perpetuate

Commerce’s unlawful practice, the Government (once again) ignores pertinent

case law.

          Like the trade court below, the Government fails to appreciate the nature of

JDI’s legal claim. JDI argues that, because it already had been assigned an AR3

AD deposit rate by operation of law, it was unlawful for Commerce to assign JDI

the AD cash deposit rate calculated in the AR2 Review (a dumping margin for an

earlier period) in the first place. See Appx46-48. The only adequate remedy for an

unlawfully assigned AD deposit rate is a retroactive reinstatement of the lawful

AD deposit rate. Absent the injunctive relief sought by JDI, the illegality of the

AR3 AD deposit rate (as assigned to JDI) would be left unaddressed. To illustrate

this, JDI included the following example in its opening brief, which the

Government declined to address:

          Commerce conducts an administrative review and calculates a final
          dumping rate for the respondent subject producer of 5%. Despite this,
          in a move that would clearly be unlawful, Commerce instructs CBP to
          collect AD cash deposits at a rate of 1,000%. Although the importer
          could participate in an administrative review to obtain refunds of
          overpaid AD cash deposits, CBP’s ultimate liquidation of the
          importers’ entries at a lawful AD assessment rate would fail to
          remedy Commerce’s unlawful assignment of the 1,000% deposit rate.

                                                  26
AMERICAS 124963226
                     Case: 23-1652         Document: 18         Page: 36       Filed: 09/06/2023




          Commerce was able to assign an unlawful AD deposit rate without
          consequence, despite the resulting harm to the importer and exporter
          (with the importer being forced to tender cash deposits at the unlawful
          1,000% rate to continue purchasing from the exporter, and the
          exporter’s lost U.S. sales due to the prohibitively high 1,000% rate).
          J.D. Irving’s situation is no different.

Appellant’s Br. at 36-37. The Government’s silence in the face of this simple

illustration speaks volumes.

          The Government also argues that “the review process could not be

manifestly inadequate when the final results of AR 4 already resulted in a

decreased cash deposit rate.” Gov. Br. 37. To the contrary, AR4 (which covers

the 2021 period of review) reinforces the conclusion that compelling JDI to

participate in unnecessary reviews fails to remedy its legal claim.                                          The

Government’s response brief includes the following chart (Gov. Br. at 9):

                      2019             2020                     2021            2022                2023
                              Jan.-Nov.    Dec.        Jan.-Nov.   Dec.                 Jan.-July      Aug. 2023
                              2020         2020        2021        2021                 2023           – present
Cash
Deposit              6.04%     6.04%           1.57%    1.57%         11.59%   11.59%    11.59%            6.20%
Rate
Assessed
AD Duty              11.59%    6.04%           1.57%          6.20%              TBD                TBD
Rate
J.D. Irving
Review                Yes                 No                    Yes              Yes                TBD
Requested
Review
                      AR2              AR3                      AR4              AR5      AR6 (if requested)
Period


          Contrary to the Government’s argument, JDI’s (compelled) participation in

the AR4 review has not remedied its legal claim. But for Commerce’s unlawful

practice of prioritizing outdated AD rates determined in completed administrative



                                                         27
AMERICAS 124963226
                     Case: 23-1652         Document: 18        Page: 37   Filed: 09/06/2023




reviews over current AD rates determined by operation of law, JDI would not have

been compelled to request an AR4 review in the first place.2 Had Commerce

followed the statute and Congressional intent, JDI’s cash deposit rate would have

remained the most recent AR3 rate (1.57%); JDI would have withdrawn its request

for an AR4 review; and JDI’s year-2021 entries would be assessed at an AD rate of

1.57% instead of 6.20%, as illustrated in the modified chart below:

                      2019             2020                    2021        2022                2023
                              Jan.-Nov.    Dec.        Jan.-Nov.   Dec.            Jan.-July      Aug. 2023
                              2020         2020        2021        2021            2023           – present
Cash
Deposit              6.04%     6.04%           1.57%          1.57%        1.57%           1.57%
Rate
Assessed
AD Duty              11.59%    6.04%           1.57%          1.57%         TBD                TBD
Rate
J.D. Irving
Review                Yes                 No                   Yes          Yes                TBD
Requested
Review
                      AR2              AR3                     AR4          AR5      AR6 (if requested)
Period


Commerce’s unlawful practice has real consequences – not only for deposit rates,

but also for the final AD duties to be assessed.

          Compelling JDI (or any party) to participate in administrative reviews

perpetuates – rather than remedies – the legal issue raised by JDI. Absent the

retroactive and prospective relief sought by JDI, Commerce will continue its

unlawful practice. Further, as explained in JDI’s opening brief, the CIT “has

2
  For this reason, J.D. Irving moved that the CIT consider its appeal on an
expedited basis, so that the company could make an informed decision of whether
to continue to participate before the deadline to withdraw requests for AR4 reviews
in early June 2022. See Appx178-180.


                                                         28
AMERICAS 124963226
                     Case: 23-1652    Document: 18   Page: 38   Filed: 09/06/2023




repeatedly found section 1581(i) jurisdiction in cases where . . . the review that the

plaintiff seeks to prevent will have already occurred by the time relief under

another provision of section 1581 is available, rendering such relief manifestly

inadequate.” Appellant’s Br. at 44-45 (quoting Dofasco Inc. v. United States, 326

F. Supp. 2d 1340, 1346 (Ct. Int’l Trade 2004) (citations omitted), aff’d 390 F.3d

1370 (Fed. Cir. 2004).               Similarly here, JDI seeks the freedom to decline to

participate in unnecessary administrative reviews when all parties are satisfied with

its existing AD rate, consistent with the statute and Congressional intent.

          In response, the Government ignores Dofasco and simply asserts that JDI

“fails to explain why the only forum that could consider such a challenge is the

Court of International Trade.”              Gov. Br. at 41.     To the contrary, JDI has

demonstrated that, while a USMCA panel could hear the legal issue raised by JDI,

the panel lacks the authority to remedy Commerce’s unlawful practice – either

retroactively or prospectively. Congress did not intend for USMCA panel review

to deprive litigants of meaningful relief for valid legal claims. See Parkdale Int’l,

491 F. Supp. 2d at 1271 (“{M}atters not clearly provided for in § 1581(a)-(h) were

intended to fall into §1581(i) so that no one would be denied an avenue of relief in

this general subject matter area.”).




                                                29
AMERICAS 124963226
                     Case: 23-1652   Document: 18   Page: 39   Filed: 09/06/2023




                CONCLUSION AND STATEMENT OF RELIEF SOUGHT

          For the foregoing reasons and those established in the Appellant’s Brief, J.D.

Irving respectfully requests that the Court reverse the CIT’s decision and hold that

the trade court shall exercise jurisdiction under § 1581(i) to hear J.D. Irving’s

action.

                                              Respectfully submitted,


                                              /s/ Jay C. Campbell
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                                              Jay C. Campbell

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September 6, 2023




                                               30
AMERICAS 124963226
                     Case: 23-1652    Document: 18   Page: 40     Filed: 09/06/2023




(Form 19)

CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

                                     CAFC Court No. 2023-1652
                                       J.D. Irving, Ltd. v. US


The foregoing filing complies with the relevant type-volume limitation of the
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Date: September 6, 2023                              Signature:         /s/ Jay C. Campbell

                                                     Name:                Jay C. Campbell




AMERICAS 124963226
                     Case: 23-1652     Document: 18   Page: 41   Filed: 09/06/2023




                                     CERTIFICATE OF SERVICE

                                        J.D. Irving, Ltd. v. US
                                      CAFC Court No. 2023-1652

I hereby certify that on September 6, 2023 the foregoing document filed on behalf
of J.D. Irving, Limited was served upon the following parties by operation of the
Court’s electronic filing system.

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AMERICAS 124963226
